UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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AVI & CO NY CORP.,                                             :
                          Plaintiff,                          :
        -against-                                             :    Case No. 22-cv-10599 (PAE)
CHANNELADVISOR CORPORATION,                                   :
                          Defendant.                          :
---------------------------------------------------------------x
       REPLY MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT
        CHANNELADVISOR CORPORATION’S MOTION TO DISMISS
        Defendant ChannelAdvisor Corporation (“ChannelAdvisor”) respectfully

submits this reply memorandum of law in support of its motion to dismiss pursuant

to Rules 9(b) and 12(b)(6).

                                                 SUMMARY

        Plaintiff Avi & Co NY Corp. (“Avi”) does not dispute ChannelAdvisor’s

statements of the law and it does not distinguish any legal authority cited in support

of ChannelAdvisor’s motion to dismiss. Instead, Plaintiff cites dissimilar cases for

boilerplate legal principles that do not support the conclusions that Plaintiff urges

this Court to reach. Additionally, Plaintiff’s request for leave to “replead” does not

comply with this Court’s rule requiring pleading amendments to be filed within

twenty-one days of the filing of a motion to dismiss. Accordingly, the Court should

grant ChannelAdvisor’s motion to dismiss for the reasons stated in ChannelAdvisor’s

opening memorandum of law and deny Plaintiff’s request for leave to amend.




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                                    ARGUMENT

 I.   Avi Does Not Allege Consumer-Oriented Conduct or Public Injury.

      Plaintiff concedes that General Business Law §§ 349 and 350 apply only to

consumer-oriented conduct that involves injury to the public generally. See Dkt. 23

(Memo in Opposition) at 13. It argues that the alleged facts amount to a prohibited

injury by “consumers who utilized” the same products and services as Avi, id. at 14,

failing to recognize that, in this context, consumers are “those who purchase goods

and services for personal, family, or household use.” Axiom Inv. Advisors, LLC v.

Deutsche Bank AG, 234 F. Supp. 3d 526, 537 (S.D.N.Y. 2017) (emphasis added).

      Plaintiff has provided no meaningful explanation as to how it states a claim

arising from its purchase of a business service designed to facilitate sales, and not

from a product or service designed for personal, family, or household use. See Dkt. 12

(Complaint) ¶ 11. Plaintiff has not cited a single case to support its assertion that a

claim lies under General Business Law §§ 349 and 350 merely because it alleged that

a “product and service failed to properly work.” See Dkt. 23 at 14. None of the cases

cited by Plaintiff involved a business which stated a viable claim under New York’s

consumer protection laws when, as here, the business alleged injury arising from its

purchase or use of a product or service that is not ordinarily used for household

purposes. See Dkt. 23 at 13-15, citing: Nomination Di Antonio E Paolo Gensini S.N.C.

v. H.E.R. Accessories, Ltd., 2009 U.S. Dist. LEXIS 117368, at *21-24 (S.D.N.Y. Dec.

14, 2009) (dismissing General Business Law §§ 349 and 350 claims because alleged

trademark and trade dress infringement did not produce a substantial injury distinct



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from the harm that trademark laws remedy); Koch v. Acker, Merrall & Condit Co., 18

N.Y.3d 940, 941 (2012) (involving individual plaintiff’s purchase of allegedly

counterfeit bottles of wine); Clayton v. Katz, 2012 U.S. Dist. LEXIS 137671, at *15-

21 (S.D.N.Y. Sep. 25, 2012) (granting summary judgment for defendant doctor and

distributor of laser instrument in § 349 claim brought by individual liposuction

patient); Lenard v. Design Studio, 889 F. Supp. 2d 518, 529-531 (S.D.N.Y. 2012)

(vacating default judgment against defendants because plaintiff failed to adequately

plead claims for deceptive trade practices and fraud in dispute arising out of an

apartment renovation where defendant allegedly misrepresented their abilities as

contractors where “the parties’ dispute . . . is best characterized as a private contract

dispute”); Weight Watchers Int'l, Inc. v. Stouffer Corp., 744 F. Supp. 1259, 1284-85

(S.D.N.Y. 1990) (concluding that Weight Watchers could not satisfy the necessary

element of a § 349 claim because it was not injured by defendant’s misleading ads to

consumers for its frozen “Lean Cuisine” product line that used plaintiff’s “Weight

Watchers” trademarks and presented dietary exchange information for how “Lean

Cuisine” products fit into the Weight Watchers diet program); Constr. Tech., Inc. v.

Lockformer Co., 704 F. Supp. 1212, 1216-23 (S.D.N.Y. 1989) (involving claims based

on competitors’ false comparative advertisements about plaintiff’s products that were

directed to prospective purchasers of the products); M.V.B. Collision Inc. v. State

Farm Mut. Auto. Ins. Co., 2020 U.S. Dist. LEXIS 29420, at *4-5 (S.D.N.Y. Feb. 20,

2020) (denying motion to dismiss §§ 349 and 350 claims arising from alleged deceptive

acts relating to the provision of vehicle insurance); Wynn v. Topco Assocs., LLC, 2021



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U.S. Dist. LEXIS 9714, at *8-9, (S.D.N.Y. Jan. 19, 2021) (dismissing claims by

individuals who bought defendant’s “Vanilla Almondmilk” alleging that the labeling

falsely communicated that the beverage’s flavor was derived entirely from real

vanilla); Cosgrove v. Oregon Chai, Inc., 520 F. Supp. 3d 562, 575 (S.D.N.Y. 2021)

(dismissing claims by individuals that the label of defendant’s “vanilla” flavor of

powdered chai tea mix tricks consumers into believing that the product has more

vanilla than other flavors); Barreto v. Westbrae Nat., Inc., 518 F. Supp. 3d 795, 802

(S.D.N.Y. 2021) (dismissing §§ 349 and 350 claims based on defendant’s label of its

vanilla soy milk product); Duran v. Henkel of Am., Inc., 450 F. Supp. 3d 337, 346

(S.D.N.Y. 2020) (involving claims by individual plaintiff who purchased bottle of

defendant’s hair styling gel after seeing the label’s “no flakes” advertisement).

      In short, Avi is a retailer that alleges injury arising from products and services

designed to assist businesses that sell products, not the public at large. The Court

should dismiss the §§ 349 and 350 claims for failure to state a claim.


II.   Valid Contract Provisions Require Dismissal of Avi’s Contract Claims
      That Exceed the Parties’ Agreement to Limit Liability and Disclaim
      Warranties.

      A.     The Liability Limitation Provides a Remedy.

      Avi acknowledges that limitations of liability are enforceable unless they are

unconscionable. See Dkt. 23 at 15. Unconscionability may arise if enforcement of the

contractual provision leaves plaintiff with no remedy at all, such as when remedy is

limited to a repair or replacement of the goods and the goods cannot be repaired or

replaced after efforts to do so. See, e.g., Cayuga Harvester, Inc. v. Allis-Chalmers


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Corp., 465 N.Y.S.2d 606, 611-12 (4th Dept. 1983) (cited by Plaintiff) (plaintiff suffered

over 100 mechanical failures and over 100 parts replacements such that repair and

replacement remedy failed in its essential purpose and plaintiff could seek damages

it would be entitled to seek if there was no limited liability clause), see id. at 613-18

(enforcing consequential damages exclusion).

      That is not the case here: if successful, Avi can recover the amount it paid to

ChannelAdvisor in the preceding 12 months.                Specifically, the LIABILITY

LIMITATION limits recovery by either party to amounts that Avi paid in the

preceding 12 months. See Dkt. 14-4 § 9.0. Avi does not allege that a refund cannot

be accomplished, but instead argues that the refund remedy is “insufficient.” See

Dkt. 23 at 16. Even if that were true, Avi’s dissatisfaction with the agreed-on remedy

for any claimed breach does not bring its allegations within, or even near, the

required unconscionability standard.           Thus, Avi’s contract-based claims for

consequential, incidental, and punitive damages should be dismissed.

      B.       The Warranty Disclaimer Meets The “Conspicuous” Standard.

      Avi does not dispute that enforcement of the written disclaimer in the parties’

contract defeats its claim for breach of implied warranty of merchantability. It

acknowledges     that   contract   disclaimers    such    as   the   DISCLAIMER      OF

WARRANTIES BY CHANNELADVISOR clause here are enforceable if they are

conspicuous and contain appropriate language.            While Avi does not dispute the

appropriateness of the disclaimer language, it argues that the clause is not

conspicuous.



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      Avi cites no cases that support its argument that the disclaimer contained in

the 7-page Master Services Agreement was inconspicuous.           Instead, Avi offers

observations regarding how the clause could have been even more conspicuous. But

that is not the applicable standard.     Avi has not cited any case where a court

invalidated   a   clause   like   the   DISCLAIMER        OF    WARRANTIES         BY

CHANNELADVISOR clause—which has a bold and capitalized heading, fully

capitalized text, and larger typeface than other provisions in a 7-page document.

Instead, Avi’s cited cases confirm that the DISCLAIMER OF WARRANTIES BY

CHANNELADVISOR clause readily meets the “conspicuous” standard. See Dkt. 23

at 16-17, citing NY Drilling v. TJM, Inc., 573 F. Supp. 3d 854, 859-60 (E.D.N.Y. 2021)

(reasoning that “the disclaimers at issue bear characteristics that are sufficiently

conspicuous to overcome their suboptimal placement. The text is in all capital letters

and it clearly and explicitly disclaims the warranties of fitness and merchantability.”

(citing Shema Kolainu-Hear Our Voices v. ProviderSoft, LLC, 832 F. Supp. 2d 194,

200 (E.D.N.Y. 2010) (disclaimer conspicuous because it "[wa]s in capital letters in a

separate block paragraph and specifically mention[ed] merchantability . . . [and]

fitness") and Maltz v. Union Carbide Chemicals & Plastics Co., 992 F. Supp. 286, 304

(S.D.N.Y. 1998) ("The warranty disclaimer is in capital letters and specifies the

warranties that are being disclaimed.")); Martino v. MarineMax Northeast, LLC, 2018

U.S. Dist. LEXIS 201582, at *10-12 (E.D.N.Y. Nov. 28, 2018) (enforcing disclaimer

and dismissing breach of warranty claim); Am. Dev. Grp., LLC v. Island Robots of

Fla., 2019 U.S. Dist. LEXIS 174873, *29 (E.D.N.Y. Oct. 4, 2019) (“These exclusions



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are adequately conspicuous because they use all capital letters. They also use the

term "merchantable" as required by U.C.C. Section 2-316(2).”), recommendation

adopted, 2019 U.S. Dist. LEXIS 192831 (E.D.N.Y. Nov. 6, 2019).

       Accordingly, Avi’s claim for breach of implied warranty of merchantability

should be dismissed because any such warranty has been disclaimed.

III.   The Court Should Dismiss the Fraud and Negligent Misrepresentation
       Claims.

       Plaintiff primarily relies on Exchange Listing, LLC v. Inspira Technologies,

Ltd., 2023 U.S. Dist. LEXIS 39093 (S.D.N.Y. Mar. 8, 2023), a case which confirms

ChannelAdvisor’s primary point that “[a]n allegation of fraudulent inducement may

not be used as a means of restating what is, in substance, a claim for breach of

contract, and general allegations that defendant entered into a contract while lacking

the intent to perform it are insufficient to support a fraud claim.” Id. at *41-42

(cleaned up and citation omitted).

       Avi’s attempted reliance on two exceptions to the general rule noted in

Exchange Listing is misplaced.       First, Avi has not alleged a misrepresentation

“collateral or extraneous to the contract,” as both the fraud and contract claims are

premised on the allegation that ChannelAdvisor’s product and service did not

function correctly. See Dkt. 13 at 18-19 (explaining that ChannelAdvisor’s alleged

misrepresentations were false because “the product never worked as intended”).

Second, Avi’s argument that its fraud claim is distinct because it seeks and can

recover lost profits as “special damages” under New York law on its fraud claim is

incorrect as a matter of law—the recovery of expected profits is not an available


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measure of damages for a fraud claimant. See, e.g., Kulas v. Adachi, 1997 U.S. Dist.

LEXIS 6868, at *28-29 (S.D.N.Y. May 12, 1997) (fraud damages “compensate

plaintiffs for what they lost because of the fraud, not to compensate them for what

they might have gained”).

      Avi’s argument that it adequately pleaded scienter contradicts the applicable

standards.    As Avi appears to concede, it alleges only the conclusion that

ChannelAdvisor knowingly made false statements with an intent to deceive. Dkt. 23

at 19 (citing to Complaint ¶ 72, which alleges only that “representations were false

when made, Defendant knew of their falsity, and made the representations with the

intention that Plaintiff rely on them”). However, Avi’s burden is to plead “facts that

give rise to a strong inference of fraudulent intent,” not mere conclusions “devoid of

particularized facts.” Hesse v. Godiva Chocolatier, Inc., 463 F. Supp. 3d 453, 472-73

(S.D.N.Y. 2020).

      Finally, Avi’s argument that it satisfied Rule 9(b) by alleging that “Defendant”

made the challenged statement “some time prior to January 2019” at an unspecified

location in “North Carolina” finds no support in the caselaw. See Dkt. 23 at 19; see,

e.g., Antifun Ltd. v. Wayne Indus. LLC, 2022 U.S. Dist. LEXIS 130719, at *37-38

(S.D.N.Y. July 22, 2022) (collecting cases which uniformly conclude that the

identification of a period of several months “is too broad” to satisfy Rule 9(b));

Greenspan v. Allstate Ins. Co., 937 F. Supp. 288, 291 (S.D.N.Y. 1996) (Rule 9(b)

requires plaintiff to “link the allegedly fraudulent statement to an individual speaker;

attribution to a corporate entity or its representative is insufficient”).



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      Accordingly,    the   Court   should      dismiss     the   fraud    and    negligent

misrepresentation claims.

IV.   The Court Should Dismiss the Unjust Enrichment Claim.

      Avi has not identified any consequential difference between its breach of

contract and unjust enrichment claims. It alleges breach of contract arising from Avi

performing its payment obligations and ChannelAdvisor “failing to provide the

services due and owing.” See Dkt. 12 ¶¶ 31-32. It now describes its unjust enrichment

claim as “based primarily on [ChannelAdvisor’s] actions in failing to deliver the

promised product and service while collecting a monthly service fee” from Avi. See

Dkt. 23 at 20.

      Avi’s unjust enrichment claim does nothing more than restate its breach of

contract claim, and all parties acknowledge the validity of the underlying contractual

relationship. The Court should dismiss the unjust enrichment claim.

 V.   Avi’s Request for Leave to Replead Should be Denied.

      The Rules of Civil Procedure provide a plaintiff a 21-day period to amend its

complaint following the filing of a motion to dismiss. Fed. R. Civ. P. 15(a). Rule 3.B.

of the Court’s Individual Rules and Practices in Civil Cases provides that when, as

here, “the non-moving party elects not to amend its pleading [in accordance with Rule

15(a)], no further opportunity to amend will ordinarily be granted, and the motion to

dismiss will proceed in the normal course.”

      Avi   had   the   opportunity    to    amend    its    pleading     after   reviewing

ChannelAdvisor’s motion to dismiss, and it declined to do so. Avi has not provided



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any explanation for its failure to file an amended complaint within the time allowed

by Rule 15(a). Therefore, the Court should follow its ordinary practice and decline to

provide Avi leave to amend its complaint.

                                   CONCLUSION

      ChannelAdvisor respectfully requests that the Court grant its motion and

dismiss Avi’s Second Claim (unjust enrichment), Third and Fourth Claims (New York

General Business Law §§ 349 & 350), Sixth Claim (breach of implied warranty of

merchantability), Seventh Claim (negligent misrepresentation), and Eighth Claim

(fraudulent inducement). ChannelAdvisor also requests that the Court dismiss the

demands for damages in the First Claim (breach of contract) and Fifth Claim (breach

of express warranty) that are excluded by the Agreement (lost profits and any form

of indirect, special, incidental, punitive, or consequential damages) and for damages

that exceed the contractual liability limitation.




Dated: April 20, 2023                   Respectfully submitted,
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                           CERTIFICATE OF SERVICE


      The undersigned hereby certifies that a copy of the foregoing Reply

Memorandum of Law in Support of Defendant ChannelAdvisor Corporation’s Motion

to Dismiss was this day served on all counsel of record via the Court’s electronic filing

system.


Dated: April 20, 2023.



                                         MORNINGSTAR LAW GROUP

                                           /s/ Jeffrey L. Roether




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